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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

NETLIST, INC.                              §
                                           §
v.                                         §
                                           §    CIVIL ACTION NO. 2:22-CV-00293-JRG
SAMSUNG ELECTRONICS CO., LTD.,             §
SAMSUNG ELECTRONICS AMERICA,               §
INC., SAMSUNG SEMICONDUCTOR,               §
INC.

                    MINUTES FOR JURY TRIAL DAY NO. 3
            HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               November 14, 2024

OPEN: 08:30 AM                                                  ADJOURN: 06:13 PM

ATTORNEYS FOR PLAINTIFF:                       See attached

ATTORNEYS FOR DEFENDANTS:                      See attached

LAW CLERKS:                                    Brendan McLaughlin
                                               Danielle Zapata
                                               Amy Wann

COURT REPORTER:                                Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                              Andrea Brunson, CP

    TIME                                 MINUTE ENTRY
 08:30 AM   Court opened.
 08:30 AM   Exhibits used prior day read into the record.
 08:33 AM   Jury entered the courtroom.
 08:33 AM   Continuation Plaintiff’s case-in-chief:
 08:34 AM   Witness sworn.
 08:34 AM   Direct examination of Mr. David Kennedy by Mr. Strabone.
 08:44 AM   Bench conference.
 08:44 AM   Bench conference concluded.
 08:45 AM   Continuation direct examination of Mr. David Kennedy by Mr. Strabone.
 09:07 AM   Bench conference.
 09:08 AM   Bench conference concluded.
 09:08 AM   Continuation direct examination of Mr. David Kennedy by Mr. Strabone.
 09:15 AM   Bench conference.
 09:17 AM   Bench conference concluded.
 09:17 AM   Continuation direct examination of Mr. David Kennedy by Mr. Strabone.
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   TIME                                  MINUTE ENTRY
09:19 AM   Bench conference.
09:20 AM   Bench conference concluded.
09:20 AM   Continuation direct examination of Mr. David Kennedy by Mr. Strabone.
09:25 AM   Bench conference.
09:26 AM   Bench conference concluded.
09:26 AM   Continuation direct examination of Mr. David Kennedy by Mr. Strabone.
09:29 AM   Objection raised.
09:29 AM   Jury retired to jury room.
09:30 AM   Court heard argument outside presence of the Jury.
09:34 AM   Court made rulings as set forth in the record.
09:35 AM   Jury returned to courtroom.
09:37 AM   Court instructed the Jury to disregard a certain portion of Mr. David Kennedy’s
           testimony.
09:39 AM   Continuation direct examination of Mr. David Kennedy by Mr. Strabone.
09:49 AM   Bench conference.
09:50 AM   Bench conference concluded.
09:50 AM   Cross examination of Mr. David Kennedy by Mr. Reger.
10:00 AM   Bench conference.
10:02 AM   Bench conference concluded.
10:02 AM   Continuation cross examination of Mr. David Kennedy by Mr. Reger.
10:03 AM   Jury recessed for break.
10:07 AM   Recess.
10:16 AM   Court reconvened.
10:17 AM   Jury returned to courtroom.
10:17 AM   Courtroom sealed.
10:18 AM   Continuation cross examination of Mr. David Kennedy by Mr. Reger.
10:34 AM   Courtroom unsealed.
10:34 AM   Continuation cross examination of Mr. David Kennedy by Mr. Reger.
11:00 AM   Bench conference.
11:03 AM   Bench conference concluded.
11:03 AM   Redirect examination of Mr. David Kennedy by Mr. Strabone.
11:06 AM   Completion of testimony of Mr. David Kennedy.
11:06 AM   Plaintiff rested its case-in-chief.
11:06 AM   Defendants’ case-in-chief:
11:07 AM   Witness sworn.
11:07 AM   Direct examination of Mr. Joseph Calandra by Ms. Smith.
11:39 AM   Bench conference.
11:40 AM   Bench conference concluded.
11:41 AM   Cross examination of Mr. Joseph Calandra by Ms. Glasser.
11:44 AM   Bench conference.
11:45 AM   Bench conference concluded.
11:45 AM   Continuation cross examination of Mr. Joseph Calandra by Ms. Glasser.
11:51 AM   Completion of testimony of Mr. Joseph Calandra.
11:52 AM   Jury recessed for lunch break.
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   TIME                                      MINUTE ENTRY
11:52 AM   Court addressed an issue among the parties re: demonstrative slides and made
           rulings as set forth in the record.
11:58 AM   Recess.
01:10 PM   Court reconvened.
01:10 PM   Court addressed dispute among the parties re: exhibits and provided guidance as set
           forth in the record.
01:14 PM   Jury returned to courtroom.
01:14 PM   Court instructed Jury re: witness testimony with the aid of an interpreter.
01:15 PM   Witness sworn. Interpreter, Ms. Ann Park, previously sworn.
01:16 PM   Bench conference.
01:17 PM   Bench conference concluded.
01:17 PM   Direct examination of Mr. Hyun Ki Ji by Mr. Cordell.
01:40 PM   Bench conference.
01:41 PM   Bench conference concluded.
01:41 PM   Continuation direct examination of Mr. Hyun Ki Ji by Mr. Cordell.
01:51 PM   Cross examination of Mr. Hyun Ki Ji by Mr. Sheasby.
02:02 PM   Bench conference.
02:08 PM   Bench conference concluded.
02:08 PM   Continuation cross examination of Mr. Hyun Ki Ji by Mr. Sheasby.
02:23 PM   Redirect examination of Mr. Hyun Ki Ji by Mr. Cordell.
02:31 PM   Completion of testimony of Mr. Hyun Ki Ji.
02:31 PM   Mr. Tishman introduced the video designation of Mr. Jeffrey Solomon.
02:37 PM   Video designation of Mr. Jeffrey Solomon concluded.
02:37 PM   Mr. Tishman introduced the video designation of Mr. Hyun Lee.
02:40 PM   Video designation of Mr. Hyun Lee concluded.
02:41 PM   Jury recessed for break.
02:42 PM   Recess.
03:10 PM   Court reconvened.
03:11 PM   Jury returned to courtroom.
03:12 PM   Witness sworn.
03:12 PM   Direct examination of Mr. Joseph McAlexander by Dr. Albert.
03:41 PM   Courtroom sealed.
03:42 PM   Continuation direct examination of Mr. Joseph McAlexander by Dr. Albert.
03:48 PM   Courtroom unsealed.
03:49 PM   Continuation direct examination of Mr. Joseph McAlexander by Dr. Albert.
03:52 PM   Bench conference.
03:54 PM   Bench conference concluded.
03:54 PM   Continuation direct examination of Mr. Joseph McAlexander by Dr. Albert.
04:48 PM   Bench conference.
04:49 PM   Bench conference concluded.
04:49 PM   Court instructed the Jury to disregard a certain portion of the testimony of Mr.
           Joseph McAlexander.
04:49 PM   Continuation direct examination of Mr. Joseph McAlexander by Dr. Albert.
04:55 PM   Cross examination of Mr. Joseph McAlexander by Mr. Sheasby.
05:16 PM   Courtroom sealed.
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   TIME                                     MINUTE ENTRY
05:16 PM   Continuation cross examination of Mr. Joseph McAlexander by Mr. Sheasby.
05:18 PM   Courtroom unsealed.
05:19 PM   Continuation cross examination of Mr. Joseph McAlexander by Mr. Sheasby.
05:47 PM   Bench conference.
05:48 PM   Bench conference concluded.
05:48 PM   Continuation cross examination of Mr. Joseph McAlexander by Mr. Sheasby.
05:48 PM   Bench conference.
05:49 PM   Bench conference concluded.
05:49 PM   Continuation cross examination of Mr. Joseph McAlexander by Mr. Sheasby.
05:53 PM   Redirect examination of Mr. Joseph McAlexander by Dr. Albert.
06:11 PM   Completion of testimony of Mr. Joseph McAlexander.
06:11 PM   Court provided instructions to the Jury.
06:11 PM   Jury recessed for the day until 8:30 AM tomorrow morning.
06:12 PM   Court to be available in the morning at 7:30 AM to take up unresolved disputes.
06:13 PM   Court adjourned.
